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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                        CASE NUMBER:
MICHAEL DOTSON, individually and on behalf of other
members of the general public similarly situated                                                2:20-cv-09651-AB-AGR
                                                    PLAINTIFF(S),
                                  v.
EURO PHARMA, INC. d/b/a TERRY NATURALLY,
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                          Michael Dotson                              hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              ✘ Order (specify):
                                                                        G
                                                                           Order Granting Defendant's Motion to
 G Conviction and Sentence
                                                                           Dismiss Document No. 36
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on                                     . Entered on the docket in this action on July 22, 2021                              .

A copy of said judgment or order is attached hereto.


August 6, 2021                                          /s/ Todd M. Friedman
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
